Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 1 of 20




                                                3:24-cv-845-DPJ-ASH
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 2 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 3 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 4 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 5 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 6 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 7 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 8 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 9 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 10 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 11 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 12 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 13 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 14 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 15 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 16 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 17 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 18 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 19 of 20
Case 3:24-cv-00845-DPJ-ASH   Document 1   Filed 12/31/24   Page 20 of 20
